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 8                               UNITED STATES DISTRICT COURT
 9                            SOUTHERN DISTRICT OF CALIFORNIA
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11     JAVO BEVERAGE CO., INC.,                             Case No.: 19-CV-1859-CAB-WVG
12                                         Plaintiff,
                                                            ORDER ON JOINT MOTION FOR
13     v.                                                   ENTRY OF FIRST AMENDMENT
                                                            TO STIPULATED PROTECTIVE
14     CALIFORNIA EXTRACTION
                                                            ORDER
       VENTURES, INC.; and STEPHEN
15
       COREY,
16                                      Defendants.
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18
19           On August 10, 2020, the Parties filed a Joint Motion for Entry of First Amendment
20     to Stipulated Protective Order. (Doc. No. 106.) In relevant part, the Parties seek to amend
21     the operative May 7, 2020 Protective Order (Doc. No. 76) by supplementing the Protective
22     Order with two paragraphs, allowing for Defendant Stephen Corey’s additional counsel
23     and counsel for Corey’s insurance counsel to view Attorneys’ Eyes Only and Confidential
24     designated materials throughout this litigation. (Id.) Given the Parties stipulation, the Court
25     GRANTS the Parties’ request for entry of this first amendment to the operative Protective
26     Order and makes enforceable upon issuance of this Order the language as reflected in
27     Exhibit A supporting the Joint Motion. In doing so, the Court reminds the Parties of their
28     obligation to comply with all applicable rules, including Civil Chambers Rule V and Civil

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 1     Local Rule 7.2(c). The Rules require the Parties to lodge a proposed order in connection
 2     with any joint motion filing, which the Parties failed to do here.
 3           IT IS SO ORDERED.
 4     Dated: August 13, 2020
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